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                             UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF PENNSYLVANIA

                                                :
THE MATTRESS FACTORY LTD.                       :
                                                :
                                                : No.                 20-1742
                        Plaintiff,
                                                :
v.                                              :
                                                :
THE CINCINNATI INSURANCE                        :         JURY TRIAL DEMANDED
COMPANY,                                        :
                                                :
                        Defendant.              :
                                                :


                                          COMPLAINT

        Plaintiff The Mattress Factory LTD (“The Mattress Factory” or the “Museum”) brings

this action against Defendant The Cincinnati Insurance Company (“Cincinnati”), and in support,

alleges as follows:

                                     NATURE OF THE ACTION

        1.     The Mattress Factory, a non-profit contemporary art museum operating in

Pittsburgh, Pennsylvania, purchased a property insurance policy from Cincinnati that protects the

Museum against all business income and property damage losses unless those losses are

specifically excluded from coverage (the “Cincinnati All-Risk Policy” or the “Policy,” attached

hereto as Exhibit A).

        2.     Unlike many property insurance policies – including the property insurance policy

The Mattress Factory purchased for the prior policy year – the Cincinnati All-Risk Policy does

not exclude damages caused by a “virus” or “communicable disease” from the scope of covered

loss.
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       3.      In connection with the COVID-19 pandemic The Mattress Factory suffered

catastrophic losses associated with the physical presence of, and physical loss or damage caused

by, the virus and resulting orders of civil authorities issued in response to the physical presence

of the virus and damage to, or loss of, property caused by the virus in the immediate vicinity of

the Museum’s covered premises. Those losses are covered by the plain text of the Cincinnati

All-Risk Policy.

       4.      Yet when The Mattress Factory submitted a claim for coverage to Cincinnati,

Cincinnati first misrepresented the terms of the Cincinnati All-Risk Policy, including

misrepresenting the available limits and key Policy terms. After The Mattress Factory pointed

out Cincinnati’s misstatements, Cincinnati issued a wrongful, snap coverage denial of coverage

in violation of Pennsylvania law and without conducting any investigation of the claim.

       5.      Accordingly, The Mattress Factory seeks a declaration of its rights under the

Policy and breach of contract damages against Cincinnati for its failure to honor its coverage

obligations, as well as damages for Cincinnati’s breach of the implied covenant of good faith and

fair dealing and for Cincinnati’s statutory bad faith.

                                          THE PARTIES

       6.      Plaintiff The Mattress Factory is a nonprofit corporation, incorporated under the

laws of the Commonwealth of Pennsylvania with its principal place of business at 500

Sampsonia Way, Pittsburgh, Pennsylvania 15212.

       7.      Defendant Cincinnati is incorporated under the laws of the State of Ohio with its

principal place of business at 6200 S. Gilmore Road, Fairfield, Ohio 45014-5141.

                                 JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction over this civil action pursuant to 28




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U.S.C. § 1332(a)(1) and § 1332(c)(1), because the amount in controversy (exclusive of interest

and costs) exceeds $75,000, and because there is complete diversity of citizenship of the parties.

        9.      This Court has personal jurisdiction over Cincinnati, because it is registered to

conduct business in the Commonwealth of Pennsylvania, regularly conducts business in the

Commonwealth of Pennsylvania, and contracted with The Mattress Factory in Pennsylvania to

insure property located in the Commonwealth of Pennsylvania. Cincinnati’s breach of the Policy

it issued to The Mattress Factory is the subject of this dispute.

        10.     Venue for this action is proper in this judicial district pursuant to 28 U.S.C.

§ 1391(a)(2) because a substantial part of the events or omissions giving rise to this claim

occurred in this judicial district.

                                      GENERAL ALLEGATIONS

A.      The Mattress Factory

        11.     The Mattress Factory is a contemporary art museum that has been operating in

Pittsburgh’s Central Northside neighborhood since 1977.

        12.     The Mattress Factory is comprised of three separate buildings that are open to the

public, as well as an Education Studio, Administrative Office, and a separate artists residence, all

located in the Central Northside neighborhood. Those buildings, which are all covered premises

as defined under the Cincinnati All-Risk Policy, are located at: (a) 500 Sampsonia Way

Pittsburgh, Pa 15212; (b) 1414 Monterey Street Pittsburgh, Pa 15212; (c) 503 N. Taylor Avenue

Pittsburgh, Pa 15212; (d) 516 Sampsonia Way Pittsburgh, Pa 15212; and (e) 100 Jacksonia Street

Pittsburgh, Pa 15212.

        13.     The Museum has earned national and international recognition for its pioneering

development of alternative art forms primarily through site-specific installations, as well as video

and performance art, with the Museum’s exhibitions being acclaimed by publications such as


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The New York Times, Wall Street Journal, Art in America, among many others.

       14.     Among its many permanent installations are works by internationally renowned

artists such as James Turrell, Yayoi Kusama, Bill Woodrow, and Greer Lankton.

       15.     In addition to hosting artists and exhibitions, The Mattress Factory Education

Department has developed outreach and on-site programs using installation art to engage and

motivate students and learners of all ages.

       16.     In 2003, the Museum opened a fully-equipped Education Studio for workshops,

school programs, teacher training and community activities.

       17.     The Museum’s Education Department serves more than 20,000 students, teachers,

adults and families annually through a wide range of programs.

       18.     Approximately 58,000 individuals visited the Museum in 2019 alone.

       19.     The impact of the COVID-19 pandemic on The Mattress Factory has been dire.

       20.     Over 40 percent of The Mattress Factory’s budget is derived from earned income,

primarily in the form of ticket sales. As a result of mandatory closures due to the physical

presence of the coronavirus in the immediate vicinity of The Mattress Factory, the Museum’s

revenues have plummeted to near $0, with The Mattress Factory suffering income losses and

expenses in excess of $600,000 to date.

B.     The COVID-19 Global Pandemic

       21.     Health authorities first identified COVID-19 in Wuhan, in the Hubei Province of

China, and, in an unprecedented event that has not occurred in more than a century, a global

pandemic ensued.

       22.     On January 30, 2020, during the term of the Cincinnati All-Risk Policy, the World

Health Organization (“WHO”) declared the COVID-19 outbreak a Public Health Emergency of

International Concern.


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       23.     The next day, the United States Department of Health and Human Services

declared that a public health emergency existed nationwide because of confirmed cases of

COVID-19 in the United States.

       24.     The rapid spread of COVID-19 is due in part to the highly transmissible character

of the virus. For example, as of March 1, 2020 there were 42,198 confirmed COVID-19 cases

across the globe. That number increased to 747,899 confirmed cases in April and 2,421,669

cases in May.1 As of November 2, 2020, there had been more than 9 million cases in the United

States and more than 231,000 deaths.2 Worldwide there have been more than 46 million

confirmed cases and over 1.2 million deaths.3

       25.     According to the Center for Disease Control (“CDC”), “everyone is at risk for

getting COVID-19.” A person may become infected by: (1) coming into close contact (about 6

feet) with a person who has COVID-19;4 (2) becoming exposed to respiratory droplets when an

infected person talks, sneezes, or coughs; and/or (3) touching surfaces or objects that have the

virus on them, and then touching his or her mouth, eyes, or nose.5

       26.     In other words, one of the primary vectors for transmission of the virus is from

person to property and property to person.




1
       See https://graphics.reuters.com/CHINAHEALTHMAP/0100B59S39E/index.html.
2
       See https://www.cnn.com/interactive/2020/health/coronavirus-us-maps-and-cases/.
3
       See https://coronavirus.jhu.edu/map.html.
4
    Recent studies indicate that the virus may even be transmitted when individuals are distanced
more than six feet apart. See https://www.nytimes.com/2020/08/11/health/coronavirus-aerosols-
indoors.html.
5
      https://www.who.int/emergencies/diseases/novel-coronavirus-2019/question-and-
answers-hub/q-a-detail/q-a-coronaviruses.


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       27.     Asymptomatic individuals may also transmit the virus.6 At least 44 percent of all

infections occur from people without any symptoms.7 Thus even individuals who appear healthy

and present no identifiable symptoms of the disease have and continue to spread the virus by

breathing, speaking, or touching objects and surfaces.

       28.     According to a report in The New York Times, “[a]n infected person talking for

five minutes in a poorly ventilated space can produce as many viral droplets as one infectious

cough.”8

       29.     In addition, one human sneeze can expel droplets that can travel up to 27 feet at

nearly a hundred miles an hour.9

       30.     Although these virus-containing droplets are very small, they are physical objects

and can travel and attach to other surfaces and cause or threaten to cause further infections, loss,

or damage.

       31.     Current evidence suggests that the COVID-19 virus may remain viable for hours

to days on surfaces made from a variety of materials.10 The virus can survive and remain

virulent on stainless steel and plastic for 3 to 6 days, on glass and banknotes for 3 days, and on

wood and cloth for 24 hours.11 Testing of similar viruses suggests the COVID-19 virus can




6
       Id.
7
       https://www.nature.com/articles/s41591-020-0869-5.
8
      https://www.nytimes.com/interactive/2020/04/14/science/coronavirus-transmission-
cough-6-feet-ar-ul.html.
9
      https://www.nationalgeographic.com/science/2020/04/coronavirus-covid-sneeze-fluid-
dynamics-in-photos/.
10
        https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cleaning-
disinfection.html.
11
       https://www.thelancet.com/journals/lanmic/article/PIIS2666-5247(20)30003-3/fulltext.


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survive on ceramics and silicon for at least 5 days.12 Studies from the National Institutes of

Health support the proposition that the virus may be detected in aerosols for up to three hours, on

plastic and stainless steel for up to three days, and on cardboard for up to twenty-four hours.13

       32.     In addition, the CDC confirmed that the virus was identified on surfaces of the

Diamond Princess Cruise ship a full 17 days after the cabins were vacated.14

       33.     Without a vaccine, effective control of the spread of COVID-19 relies on

measures designed to reduce human-to-human, human-to-surface, and surface-to-human

exposure.

       34.     As of November 2, 2020, Allegheny County has reported 15,796 positive tests for

COVID-19 in Allegheny County and 434 resulting deaths. The City of Pittsburgh itself has had

4,316 positive tests and 109 deaths, including 42 positive tests in the Central Northside

Neighborhood where The Mattress Factory is located and 231 positive tests and 5 deaths in the

neighborhoods immediately adjacent to the Central Northside Neighborhood.15

       35.     Given the limitations on available testing and number of asymptomatic cases,

these confirmed cases likely understate the extent of the presence of the virus in the immediate

vicinity of The Mattress Factory’s covered premises.

C.     The Global, National, State, and Local Response

       36.     The earliest confirmed deaths in the United States due to COVID-19 occurred in

California in early and mid-February 2020.


12
       https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4659470/.
13
      https://www.nih.gov/news-events/nih-research-matters/study-suggests-new-coronavirus-
may-remain-surfaces-days.
14
       https://www.cdc.gov/mmwr/volumes/69/wr/mm6912e3.htm.
15
        The Allegheny County Health Department is tracking these cases here:
https://www.alleghenycounty.us/Health-Department/Resources/COVID-19/COVID-19.aspx.


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        37.     Beginning in early March 2020, state and local governments issued orders

suspending or severely curtailing the operations of all “non-essential” or “high risk” businesses

in response to the virus, including museums such as The Mattress Factory, (the March 19, 2020

Order attached hereto as Exhibit B and the March 23, 2020 Order attached hereto as Exhibit C,

collectively referred to as the Closure Orders”).

        38.     Other orders, to the same effect, directed citizens to stay at home except for

certain limited activities.

        39.     State and local governments issued the Closure Orders in response to the

ubiquitous physical loss of or damage to property caused by COVID-19 in different states and

localities, including the Commonwealth of Pennsylvania and Allegheny County, as well as

property within close physical proximity to The Mattress Factory’s covered premises.

        40.     On March 6, 2020, the Governor of Pennsylvania declared a state of emergency in

the Commonwealth of Pennsylvania in response to the physical presence of the COVID-19 virus.

        41.     On March 19, 2020 the Governor of Pennsylvania and Pennsylvania Secretary of

Health ordered the closure of all businesses that are not life sustaining in Allegheny County,

Pennsylvania in response to the physical presence of the COVID-19 virus in Pennsylvania

generally and Allegheny County in particular. See Exhibit B.

        42.     The Governor’s Order was issued pursuant to his authority “to control ingress and

egress to and from a disaster area.” See Exhibit B. According to the Secretary of Health, the

closure orders were necessary due to the physical presence of the virus in and around Allegheny

County and the threat of further spread of the virus “by touching a surface or object that has the

virus on it and then touching one’s mouth, nose, or eyes.” See Exhibit C.

        43.     The Closure Orders recognize that the presence of COVID-19 in or on property




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must be presumed given the ubiquitous and highly-contagious nature of COVID-19, and that

without limiting or suspending the operations of non-essential businesses (such as museums),

COVID-19 will continue to cause physical loss of or damage to property as well as threaten the

health, life, and safety of patrons and employees.

        44.     In other words, the physical presence of COVID-19 particles causes direct

physical harm, direct physical damage, and/or direct physical loss to property.

        45.     The presence of people infected with or carrying COVID-19 particles also results

in direct physical loss to property.

        46.     In upholding the legality of the Governor’s Order, the Supreme Court of

Pennsylvania concluded that the presence of the COVID-19 virus in the Commonwealth

constituted a “natural disaster” defined as “[a]ny hurricane, tornado, storm, flood, high water,

wind-driven water, tidal wave, earthquake, landslide, mudslide, snowstorm, drought, fire,

explosion or other catastrophe which results in substantial damage to property, hardship,

suffering or possible loss of life.”16

        47.     The Court further held that “The COVID-19 pandemic is, by all definitions, a

natural disaster and a catastrophe of massive proportions. Its presence in and movement through

Pennsylvania triggered the Governor’s authority under the Emergency Code.”17

        48.     In defining the area of the natural disaster, the Court noted that COVID-19 cases

have been reported in Allegheny County and concluded that “any location (including Petitioner’s

businesses) where two or more people can congregate is within the disaster area.”18

        49.     These and similar Closure Orders, which prohibited access to The Mattress



16
        Friends of Devito v. Wolf, 227 A.3d 872, 887 (Pa. 2020) (quoting 35 Pa.C.S. § 7102).
17
        Id. at 889.
18
        Id. at 889-90.


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Factory, were issued as a result of direct damage to property caused by the presence of the

COVID-19 virus in the immediate vicinity of The Mattress Factory (among other locations) and

in response to the dangerous physical conditions resulting therefrom.19

        50.     The Closure Orders and physical damage caused by the presence of the COVID-

19 virus in the immediate vicinity of The Mattress Factory resulted in a loss of use of The

Mattress Factory’s property and caused an interruption of necessary operations and an immediate

business income loss. As a result, The Mattress Factory suffered substantial business income

and related losses and expenses in excess of $600,000, which are covered under the Cincinnati

All-Risk Policy.

D.      The Cincinnati All-Risk Policy

        51.     Cincinnati issued the Cincinnati All-Risk Policy to The Mattress Factory for the

policy period of July 28, 2019 through July 28, 2020. See Exhibit A.

        52.     The Mattress Factory purchased the Policy to protect against business interruption

and related losses, such as those at issue in this case.

        53.     Under the Policy, Cincinnati promised The Mattress Factory that it would:

                a.      “pay for the actual loss of ‘Business Income’ and necessary Extra Expense

                        you sustain caused by action of civil authority that prohibits access to the

                        ‘premises’” provided that “[a]ccess to the area immediately surrounding

                        the damaged property is prohibited by civil authority as a result of the

                        damage; and [t]he action of civil authority is taken in response to

                        dangerous physical conditions resulting from the damage or continuation

                        of the Covered Cause of Loss that caused the damage, or the action is



19
        Id. at 895.


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                       taken to enable a civil authority to have unimpeded access to the damaged

                       property”;

               b.      “pay for the actual loss of ‘Business Income’ you sustain and necessary

                       Extra Expense you sustain caused by the prevention of existing ingress or

                       egress at a ‘premises’ shown in the Declarations due to direct ‘loss’ by a

                       Covered Cause of Loss at a location contiguous to such ‘premises’”;

               c.      “pay for direct ‘loss’ to Covered Property at the ‘premises’ caused by or

                       resulting from any Covered Cause of Loss”;

               d.       “pay for the actual loss of ‘Business Income’ and ‘Rental Value’ you

                       sustain due to the necessary ‘suspension’ of your ‘operations’ during the

                       ‘period of restoration’”; and

               e.      “pay Extra Expense you sustain during the ‘period of restoration.’”

       54.     The Policy defines “Covered Causes of Loss as “direct ‘loss’ unless the ‘loss’ is

excluded or limited in this Coverage Part.”

       55.     The Cincinnati All-Risk Policy is based on standardized policy forms issued by

the Insurance Services Office. See generally Exhibit A.

       56.     In 2006 the Insurance Services Office introduced a standard form Endorsement

titled “Exclusion of Loss Due to Virus or Bacteria” that removes from the scope of coverage

“loss or damage caused by or resulting from any virus, bacterium, or other microorganism that

induces or is capable of inducing physical distress, illness or disease.”

       57.     Many property insurance policies include “virus” or “communicable disease”

exclusions barring coverage for loss or damage caused by any virus or disease.

       58.     The insurance industry and Insurance Services Office developed these “virus” and




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“communicable disease” exclusions in recognition of the fact that the presence of a virus can

constitute physical loss or damage to which property insurance policies must respond.

       59.     Importantly, while the Cincinnati All-Risk Policy uses other Insurance Services

Office forms, Cincinnati did not include the Insurance Services Office “Exclusion of Loss Due

to Virus or Bacteria” form in the Policy. Nor does the Policy include any other exclusion

purporting to exclude losses caused by viruses or communicable diseases.

       60.     In contrast to the Cincinnati All-Risk Policy covering the 2019-20 policy term,

the property policy The Mattress Factory purchased for the 2018-19 policy term does include a

virus exclusion.

       61.     Because Cincinnati did not include an exclusion in the Cincinnati All-Risk Policy

that applied to losses caused by viruses, those losses necessarily fall within the scope of

“Covered Causes of Loss” under the Cincinnati All-Risk Policy.

       62.     The terms of the Cincinnati All-Risk Policy are more fully set forth in the Policy

itself, attached as Exhibit A, and are incorporated herein by reference.

       63.     All of The Mattress Factory’s losses claimed herein fall within the scope of

coverage of the Cincinnati All-Risk Policy, and are not otherwise excluded from coverage by

any exclusions, conditions, or other limitations.

       64.     The Mattress Factory paid all premiums owed under the Cincinnati All-Risk

Policy and has complied with all conditions precedent to coverage.

       65.     The Cincinnati All-Risk Policy was in full force and effect during the entire term

of the Policy and was not canceled or otherwise terminated at any time by either party prior to

the ending of the policy period.

E.     Cincinnati’s Bad Faith Claims Handling

       66.     The Mattress Factory gave timely notice of its covered losses to Cincinnati in a


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letter dated April 7, 2020. See Exhibit D.

          67.   On April 9, 2020, Cincinnati issued a reservation of rights letter, request for

information, and demand that The Mattress Factory produce test results regarding the presence of

the virus. See Exhibit E.

          68.   The reservation of rights letter included a number of misstatements regarding the

scope of available coverage.

          69.   For example, on pages 4 and 6 of its letter, Cincinnati represented that a $25,000

sublimit applies to all Business Income, Extra Expense, and Civil Authority losses. This

representation was false. In fact, Cincinnati removed that $25,000 sub-limit from its Policy in

Form FA 258 05 16.

          70.   Similarly, on pages 2 and 5 of Cincinnati’s letter, Cincinnati stated that the Policy

requires “direct physical loss or damage to Covered Property,” but the phrase “direct physical

loss or damage to Covered Property” does not appear anywhere in the Cincinnati All-Risk

Policy.

          71.   Cincinnati also represented that “Direct physical loss or damage generally means

a physical effect on Covered Property, such as a deformation, permanent change in physical

appearance or other manifestation of a physical effect.” The Policy includes no such

requirement. Indeed, the words “physical effect,” “permanent change,” “physical appearance,”

and “manifestation” do not appear anywhere in the Cincinnati All-Risk Policy.

          72.   Cincinnati’s representation regarding the need for a “deformation, permanent

change in physical appearance or other manifestation of a physical effect” is also contrary to

relevant and controlling authority. See, e.g., Motorists Mutual Insurance Co. v. Hardinger, 131

F. App’x 823, 827 (3d Cir. 2005) (decided under Pennsylvania law and holding e coli bacteria in




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a home could constitute physical loss or damage and reversing the trial court’s contrary ruling).

       73.       On April 14, 2020, The Mattress Factory responded to Cincinnati’s letter by

requesting that Cincinnati withdraw its reservations based on the foregoing misrepresentations.

See Exhibit F.

       74.       The Mattress Factory also responded to Cincinnati’s requests for information by

providing detailed information regarding the actual presence of the virus in and around The

Mattress Factory and the Closure Orders impacting The Mattress Factory’s income and

operations.

       75.       In response to Cincinnati’s demand for testing, The Mattress Factory pointed out

that the dearth of testing equipment made Cincinnati’s demand for testing impracticable,

particularly given the fact that: (a) The Mattress Factory is a non-profit arts organization that

does not have the requisite expertise or funding to conduct testing to reveal the presence of a

novel virus; (b) the Closure Orders prohibited The Mattress Factory from conducting testing at

third-party locations (the presence of the virus at third-party locations triggers the Policy’s “civil

authority” coverage); (c) nothing in the Policy itself required The Mattress Factory to conduct

testing; and (d) the Closure Orders themselves coupled with publicly available testing data

revealing positive COVID-19 cases and deaths in the immediate vicinity of The Mattress Factory

confirmed the presence of the virus.

       76.       Nevertheless, in an effort to cooperate in good faith with its insurer, The Mattress

Factory requested that Cincinnati provide The Mattress Factory with reference to resources

necessary to enable The Mattress Factory to conduct any testing.

       77.       In response, on April 27, 2020, Cincinnati wrongfully denied coverage for The

Mattress Factory’s claim in its entirety. See Exhibit G.




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       78.     Cincinnati’s denial of coverage was contrary to the plain terms of the Cincinnati

All-Risk Policy and clearly established Pennsylvania law, of which Cincinnati was aware at the

time it issued its coverage denial.

       79.     Prior to issuing the reservation of rights letter, Cincinnati did not conduct any

investigation of The Mattress Factory’s claim whatsoever.

       80.     This lawsuit followed.

                        COUNT ONE: DECLARATORY JUDGMENT

       81.     The Mattress Factory repeats and re-alleges each of the allegations contained in

the above-stated paragraphs as if the same were set forth below.

       82.     The Mattress Factory seeks a declaration, pursuant to 28 U.S.C. § 2201, that

Cincinnati is obligated, in accordance with the terms of the Cincinnati All-Risk Policy to provide

insurance coverage for The Mattress Factory’s business income losses and related costs and

expenses including, but not limited to, those business income and extra expense costs covered

under the Policy’s Civil Authority coverage.

       83.     An actual and justiciable controversy exists between the parties with respect to

this issue due to Cincinnati’s denial of its obligations under the Cincinnati All-Risk Policy.

       84.     This controversy is ripe and of sufficient immediacy to justify the issuance of a

declaratory judgment.

       85.     The Mattress Factory is entitled to have the Cincinnati All-Risk Policy interpreted

in a reasonable manner that maximizes its insurance coverage.

       86.     The Mattress Factory is entitled to a declaration from this Court that the losses

complained of herein are covered under the Cincinnati All-Risk Policy.




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                         COUNT TWO: BREACH OF CONTRACT

       87.     The Mattress Factory repeats and re-alleges each of the allegations contained in

the above-stated paragraphs as if the same were set forth below.

       88.     The Cincinnati All-Risk Policy is a valid, enforceable contract between The

Mattress Factory and Cincinnati.

       89.     The Mattress Factory has performed all obligations under the Policy, and any and

all conditions precedent to coverage have been satisfied or waived.

       90.     In return for the premium amounts The Mattress Factory paid, Cincinnati agreed

to assume the risk of all losses covered under the Cincinnati All-Risk Policy.

       91.     The Mattress Factory’s losses complained of herein are the result of Covered

Causes of Loss within the meaning of the Cincinnati All-Risk Policy that entitle The Mattress

Factory to be reimbursed for those losses.

       92.     No exclusions, conditions, or other limitations in the Policy excuse Cincinnati’s

obligation to provide coverage to The Mattress Factory. Because exclusions, conditions, and

other limitations on coverage must be pled by Cincinnati as an affirmative defense, and

Cincinnati has the burden of proving their applicability, The Mattress Factory reserves all rights

to respond to any such defenses once they are asserted.

       93.     Cincinnati breached its obligations under the Cincinnati All-Risk Policy by:

(a) failing to conduct a good faith investigation of the claim; and (b) wrongfully denying

coverage for The Mattress Factory’s claim.

       94.     In addition, implied in every insurance policy is a covenant that the insurance

company will act in good faith and deal fairly with its insured, that the insurance company will

not interfere with the right to receive benefits under the policy, that the insurance company will




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give at least as much consideration to the interests of the insured as it does to its own interests,

that the insurance company will exercise diligence, good faith, and fidelity in safeguarding the

insured’s interests, that it will deal ethically with the insured, and will fairly and adequately

inform the insured with respect to the nature and scope of its insurance coverage (hereinafter

referred to as the “implied covenant of good faith and fair dealing”).

       95.     Cincinnati, in violation of the implied covenant of good faith and fair dealing, has

refused to acknowledge the coverage provided under the Policy by refusing to pay valid claims

for reasons that are unsubstantiated under the terms and condition of the Policy. Cincinnati has

done so for the purpose of consciously withholding policy benefits and placing its own interests

above those of its insured for the purpose of utilizing money which should have been paid under

the terms and conditions of the Policy. This violation of the implied covenant of good faith and

fair dealing constitutes an independent breach of contract.

       96.     As a direct and proximate result of Cincinnati’s breach of contract and breach of

the implied covenant of good faith and fair dealing, The Mattress Factory has been wrongfully

deprived of the benefits of insurance coverage, for which The Mattress Factory paid substantial

premiums, resulting in several hundred thousand dollars in losses.

       97.     As a direct and proximate result of Cincinnati’s breach of contract, The Mattress

Factory has also incurred additional consequential damages, including without limitation,

attorneys’ fees and other expenses in bringing this action, which damages are not subject to the

Cincinnati All-Risk Policy’s limits of liability.

                                 COUNT THREE: BAD FAITH

       98.     The Mattress Factory repeats and re-alleges each of the allegations contained in

the above-stated paragraphs as if the same were set forth below.

       99.     By statute, 42 Pa.C.S. § 8371, Pennsylvania prohibits insurers from placing their


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own interests ahead of their own policyholders and provides bad faith remedies for “an action

arising under an insurance policy.

       100.    Cincinnati has a statutory obligation to act in good faith toward The Mattress

Factory in responding to and investigating claims.

       101.    As set forth above, Cincinnati has repeatedly placed its own interests ahead of

The Mattress Factory’s interests, as well as the interests of other policyholders nationwide and

across the Commonwealth, to the detriment of The Mattress Factory.

       102.    Cincinnati’s conduct described above, and as set forth below, constitutes bad faith

prohibited by 42 Pa.C.S. § 8371.

       103.    Moreover, Cincinnati has repeatedly violated and continues to violate the

Pennsylvania Unfair Insurance Practices Act, 40 P.S. § 1171.1, et seq. While there is no private

cause of action for such violations, and no such private cause of action is asserted here, those

violations are further evidence of Cincinnati’s bad faith.

       104.    Cincinnati has acted in bad faith toward The Mattress Factory with respect to this

claim by, among other things: (a) misrepresenting the terms, conditions, and available limits

under the Cincinnati All-Risk Policy; (b) issuing a snap coverage denial when the policyholder

identified those misrepresentations; (c) denying coverage without conducting an investigation or

adjusting the claim; (d) acting in a one-sided manner and exposing The Mattress Factory to

severe losses; and (e) refusing to pay claims without legal compulsion, forcing The Mattress

Factory, a vulnerable non-profit organization, to protect its rights by way of this lawsuit against

Cincinnati.

       105.    On information and belief, Cincinnati has engaged in a pattern or practice of

denying all claims related to the COVID-19 pandemic under its standard form all-risk property




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insurance policies without conducting good faith investigations of its policyholders’ claims or

considering the unique facts and circumstances of each of those claims.

          106.   On information and belief, there are currently dozens of lawsuits against

Cincinnati alleging similar wrongful, bad faith conduct with respect to the handling of such

claims.

          107.   On information and belief, Cincinnati’s widespread, wrongful, bad faith business

practices have resulted in significant damages to policyholders in Pennsylvania and around the

country, requiring them to incur the costs of filing suit to obtain the insurance coverage to which

they are entitled.

                                      PRAYER FOR RELIEF

          WHEREFORE, The Mattress Factory respectfully prays that this Court:

          1.      Declare that Cincinnati is obligated to pay The Mattress Factory benefits owed

under the Cincinnati All-Risk Policy;

          2.     Award The Mattress Factory compensatory, direct and consequential damages in

the amount established by the evidence, which is in excess of $75,000;

          3.     Award The Mattress Factory damages sustained as a result of Cincinnati’s unfair

and unreasonable breach of the statutory duty of good faith and fair dealing including, without

limitation, compensatory damages, consequential damages, prejudgment interest, post-judgment

interest, and attorneys’ fees and costs and exemplary damages in an amount allowable by law;

          4.     Award The Mattress Factory pre-judgment interest and post-judgment interest;

          5.     Award The Mattress Factory its costs and fees incurred in this action; and

          6.     Award The Mattress Factory any other relief the Court deems just and proper.

                                          JURY DEMAND

          The Mattress Factory demands a trial by jury for any and all issues so triable.


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DATED this 12th day of November, 2020.

                                          By: _s/Dominic I. Rupprecht_______________
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                                                  LTD




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                               CERTIFICATE OF SERVICE
       I, the undersigned, declare under penalty of perjury, that I am over the age of eighteen
(18) years, and I am not a party to, nor interested in, this action. On this date, I caused to be
served a true and correct copy of the foregoing: COMPLAINT by the method indicated:


   x           U. S. Mail (Certified, Mail-Return Receipt Requested)
               CM/ECF Electronic Filing System
               Facsimile Transmission
and addressed to the following:
The Cincinnati Insurance Company
c/o Steve Corbly, Registered Agent
P.O. Box 145496
Cincinnati, Ohio 45250-5496

       DATED this 12th day of November 2020.



                                             _s/Dominic I. Rupprecht_______________
                                             Counsel for The Mattress Factory




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